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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

SYMBOLOGY INNOVATIONS LLC,
                                                   Civil Action No.: 1:19-cv-01654-RGA
            PLAINTIFF,

v.                                                 TRIAL BY JURY DEMANDED

NABISCO, INC.,

and

MONDELEZ GLOBAL LLC,

            DEFENDANTS.


              NOTICE OF VOLUNTARY DISMISSAL AS TO DEFENDANT
                      NABISCO, INC. WITHOUT PREJUDICE


        Now comes, Plaintiff Symbology Innovations LLC, by and through undersigned counsel,

and pursuant to Fed. R. Civ. P. 41 (a)(1), hereby notifies this Honorable Court of its voluntarily

dismissal of all of the claims and allegations against original named Defendant Nabisco, Inc., in

the within action without prejudice. Defendant Nabisco, Inc., has not served an answer nor any

dispositive motions. All parties to bear their own costs and attorneys’ fees. All claims and

allegations asserted in Plaintiff’s Amended Complaint (D.I. 6) against Defendant Mondelez

Global LLC remain before this Honorable Court.
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                                   Respectfully submitted,

                                   STAMOULIS & WEINBLATT LLC


Dated: September 23, 2019          /s/Stamatios Stamoulis___________________
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                                   Together with:


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                                   Attorneys for Plaintiff
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                                    CERTIFICATE OF SERVICE

          I hereby certify that a true and accurate copy of the foregoing was served in addition to

the Court’s electronic filing system this 23rd day of September, 2019 on the following counsel of

record:



          Defendant Nabisco, Inc.

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          Attorney for Defendant Mondelez Global LLC


                                                /s/Stamatios Stamoulis
                                                Stamatios Stamoulis
